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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA

    UNITED ST ATES OF AMERICA

             V.
                                                          1:21-CR-00143-ELR-C
    VICTOR HILL


                       APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned Assistant United States Attorney hereby applies to the captioned court
for the issuance of a writ of habeas corpus ad testificandum and avers:

    1.    Name of detainee (and detainee number, if known): Joseph Kenneth Arnold; 2120601

    2. Detained by Clayton County Jail - 9157 Tara Blvd, Jonesboro, GA 30236

    3. Detainee is a witness not otherwise available by the ordinary process of the Court.

   4. Appearance is necessary on October 7, 2022, at 8:00 A.M., in Courtroom Number 1708,
      OR before the Federal Grand Jury sitting in Room Number 2037, of the United States
      Courthouse for the district, for Trial, specifically as a testifying witness.




                                                  Assistant United States Attorney

                                  WRIT OF HABEAS CORPUS

X Ad Testificandum

        The instant application is granted and the above-named custodian, as well as the United
States Marshal for this district, his deputies, and other United States Marshals and their
deputies, is and are directed to produce the named detainee, in civilian clothes, on the date, at
the time, and in the place recited above, and thereafter to maintain the said detainee within the
jurisdiction of this Court pending the satisfaction of this writ or the further orders of the Court.


Date:                   , 2022
                                                  Eleanor L. Ross
                                                  United States District Judge
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Memorandum
United States Attorney
Northern District of Georgia




Subject                                                 Date

 WRIT OF HABEAS CORPUS                                  September 19, 2022

 To                                                     From

 MICHAELS. YEAGER                                       Brent A. Gray
 U.S. MARSHAL                                           Assistant United States Attorney
                                                        404-581-6077



The following information is submitted in order to expedite the execution of the attached Writ
of Habeas Corpus, to assist in the proper identification of the defendant and/ or witness, and to
aid in the safety of transporting deputies.

NAME: Joseph Kenneth Arnold
NAME OF INSTITUTION AND LOCATION: Clayton County Jail - 9157 Tara Blvd, Jonesboro,
GA30236
WILL CUSTODIAN INSTITUTION AGREE TO RELEASE PRISONER ON WRIT? Yes
          NAME OF PERSON AGREEING TO RELEASE: Roland Boehrer
          TELEPHONE NUMBER OF PERSON AGREEING TO RELEASE: 678-479-5193
ALIASES:
DOB OR AGE: 01/16/1970                                RACE: Black
FBI NUMBER: None                                      USM OR BOP NUMBER: None
STATE PRISONER NUMBER: 2120601
PENDING FEDERAL CHARGES: None
CASE NUMBER: 1:21-CR-00143-ELR-CCB
Special handling considerations, separates, or special security measures deemed necessary:
None




It is understood that 21 days are needed to process Writs of Habeas Corpus except those directed to
federal institutions located in the Northern District of Georgia. State institutions require 21 working
days. I have checked with the institution involved and they are willing to release the individual.
